              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CRIMINAL CASE NO. 1:08-cr-00082-MR-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                ORDER
                                )
VINCENT LAMAR BOULWARE,         )
                                )
                   Defendant.   )
_______________________________ )


      THIS MATTER is before the Court on the Defendant’s “Motion for

Reconsideration under 18 U.S.C. § 3742.” [Doc. 156].

      The Defendant moves for reconsideration of the Order denying his

Motion for Reduction of Sentence pursuant to 18 U.S.C. § 3582(c)(2). [Doc.

156]. Simultaneous with the Defendant’s motion for reconsideration, the

Court also received the Defendant’s Notice of Appeal of that same Order.

[Doc. 157].    The Defendant’s Notice of Appeal divests this Court of

jurisdiction and confers jurisdiction upon the Court of Appeals. See United

States v. Christy, 3 F.3d 765 (4th Cir. 1993). Accordingly, the Defendant’s

motion is denied for lack of jurisdiction.




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     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

“Motion for Reconsideration” [Doc. 156] is DENIED for lack of jurisdiction.

     IT IS SO ORDERED.
                               Signed: March 1, 2017




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